                                                                             Case 2:24-cv-02352-APG-DJA           Document 27        Filed 04/08/25     Page 1 of 2



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                                                                         6 Designated Resident Nevada Counsel
                                                                           for Plaintiff Kristine Kerlus
                                                                         7
                                                                         8                                UNITED STATES DISTRICT COURT
                    Telephone: (775) 420-5222 Fax No.: (775) 448-6004




                                                                         9                                        DISTRICT OF NEVADA
                      241 Ridge Street, Suite 340, Reno, Nevada 89501




                                                                        10
                                                                        11    KRISTINA KERLUS, individually,                     Case No.: 2:24-cv-02352-APG-DJA
SANTOS LAW, PLLC.




                                                                        12                           Plaintiff,

                                                                        13           vs.                                             ORDER GRANTING MOTION TO
                                                                                                                                            WITHDRAW
                                                                        14    DR. JENNIFER CORNEAL, in her individual
                                                                              capacity; A. SANTOS, in her individual
                                                                        15    capacity; CITY OF LAS VEGAS, a Municipal
                                                                              corporation; COUNTY OF CLARK,
                                                                        16    a Municipal corporation; LAS VEGAS
                                                                              METROPOLITAN POLICE DEPARTMENT,
                                                                        17    jointly and severally,

                                                                        18                         Defendants.

                                                                        19
                                                                        20         On March 13, 2025, attorneys Cory A. Santos, Sr. and Theresa M. Santos (“Santos Law”)
                                                                        21    filed a Motion to Withdraw. (ECF. No. 9). The following day, the Court ordered attorneys
                                                                        22    Wolfgang Mueller, Antonio Romancucci and Patrick Driscoll to file a notice with the Court by
                                                                        23    March 19, 2025, indicating who is representing the Plaintiff and to file the appropriate pro hac
                                                                        24    vice application. (ECF. No. 10).
                                                                        25         On March 17, 2025, Attorney Paul Padda filed a Notice of Appearance on behalf of
                                                                        26    Plaintiff. (ECF. No. 13). On March 19, 2025, attorneys Romanucci and Driscoll sought
                                                                        27    permission to practice Pro Hac Vice. (ECF. Nos. 16, 17). Their requests were granted the same
                                                                        28    day, with attorney Paul Padda approved as local counsel. (ECF. Nos. 18, 19).
                                                                             Case 2:24-cv-02352-APG-DJA         Document 27      Filed 04/08/25   Page 2 of 2



                                                                         1          Oppositions to the Motion to Withdraw were due March 29, 2025. No opposition was
                                                                         2    ever filed.
                                                                         3          The Motion to withdraw as resident Nevada counsel (ECF No. 9) is hereby GRANTED.
                                                                         4
                                                                         5                  IT IS SO ORDERED
                                                                         6                                        ______________________________

                                                                         7
                                                                                                                 DANIEL J. ALBREGTS
                                                                                                              _______________________________
                                                                         8                                    DANIEL J. ALBREGTS
                    Telephone: (775) 420-5222 Fax No.: (775) 448-6004




                                                                                                              UNITED  STATES
                                                                                                                 UNITED       MAGISTRATE
                                                                                                                         STATES  MAGISTRATEJUDGE
                                                                                                                                              JUDGE
                                                                         9
                      241 Ridge Street, Suite 340, Reno, Nevada 89501




                                                                        10                                    DATED: 4/8/2025
                                                                                                                DATED: 4/8/2025
                                                                        11
SANTOS LAW, PLLC.




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